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                                                                                                                 CO-386
                                                                                                                 10/2018


                                   United States District Court
                                   For the District of Columbia
America First Legal Foundation                      )
                                                    )
                                                    )
                                                    )
                                     Plaintiff      )                          23-419
                                                             Civil Action No._______________________
                       vs
                                                    )
United States Department of State                   )
                                                    )
                                                    )
                                    Defendant       )


                                                 CERTIFICATE RULE LCvR 26.1

                                           America First Legal Foundation
I, the undersigned, counsel of record for ____________________________________ certify that to the best of my knowledge and

                                                                           America First Legal Foundation
belief, the following are parent companies, subsidiaries or affiliates of _______________________________________ which have

any outstanding securities in the hands of the public:

  None




These representations are made in order that judges of this court may determine the need for recusal.


                                                               Attorney of Record

                                                                          /s/ Jacob Meckler
                                                               _______________________________________
                                                               Signature

 90005210
________________________________________                       Jacob Meckler
                                                               _______________________________________
BAR IDENTIFICATION NO.                                         Print Name

                                                               611 Pennsylvania Ave. SE #231
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                                                               Address

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                                                               _______________________________________
                                                               Phone Number
